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                         UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF LOUISIANA
                              LAFAYETTE DIVISION

 UNITED STATES OF AMERICA                          CRIMINAL ACTION 05-60040

 VERSUS                                            JUDGE TUCKER L. MELANÇON

 KEITH ROMAN HENDERSON                             MAGISTRATE JUDGE HANNA

                                        JUDGMENT

        Keith Roman Henderson’s Petition for Writ of Habeas Corpus Pursuant to Title 28

 U.S.C. § 2255 to Vacate, Set Aside, or Correct Sentence by a Person in Federal Custody (Rec.

 Doc. 147) was referred to United States Magistrate Judge Patrick J. Hanna for report and

 recommendation. After an independent review of the record, and consideration of the

 objections filed, this Court concludes that the Magistrate Judge’s report and recommendation

 is correct and adopts the findings and conclusions therein as its own. It is therefore

        ORDERED that Keith Roman Henderson’s Petition for Writ of Habeas Corpus

 Pursuant to Title 28 U.S.C. § 2255 to Vacate, Set Aside, or Correct Sentence by a Person in

 Federal Custody [Rec. Doc. 147] is DENIED AND DISMISSED WITH PREJUDICE.

        THUS DONE AND SIGNED this 14 th day of December, 2010 in Lafayette,

 Louisiana.
